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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-01422-JLS-JDE                                   Date: January 31, 2020
 Title: Hugh Nguyen v. Tesla, Inc.

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

      Terry Guerrero                                               N/A
       Deputy Clerk                                           Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:            ATTORNEYS PRESENT FOR DEFENDANT:

               Not Present                                    Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER CONTINUING HEARING ON
              DEFENDANT’S MOTION TO COMPEL ARBITRATION
              (Doc. 15)

        Defendant Tesla Inc.’s Motion to Compel Arbitration (Doc. 15) is currently set for
 hearing on February 14, 2020, at 10:30 a.m. In light of the Court’s calendar, on the
 Court’s own motion, the hearing on the Motion is CONTINUED to April 3, 2020, at
 10:30 a.m.


                                                                   Initials of Preparer: tg




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